Case 1:05-cv-00762-SLR Document 107-4 Filed 03/23/07 Page 1 of 1 PagelD #: 2756

CERTIFICATE OF SERVICE
I hereby certify that on March 23, 2007, the foregoing Motion for Order Awarding
Attorney’s Fees and Other Costs was electronically filed with the Clerk of the Court using
CM/ECE, which will send notification of such filing to counsel as set forth below:

Dennis A. Meloro, Esq.

Greenberg Traurig, LLP

The Nemours Building

1007 North Orange Street, Suite 1200
Wilmington, DE 19801

/s/ M. Duncan Grant

M. Duncan Grant (Del. Bar No. 2994)
PEPPER HAMILTON LLP

Hercules Plaza, Suite 5100

1313 North Market Street

P.O. Box 1709

Wilmington, DE 19899-1709

(302) 777-6500
